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 1   BLACKMON & ASSOCIATES
     CLYDE M. BLACKMON (SBN 36280)
 2   JONATHAN C. TURNER (SBN 191540)
     EMILY E. DORINGER (SBN 208727)
 3   813 Sixth Street. Suite 450
     Sacramento, Ca 95814
 4   Telephone: (916) 441-0824
 5   Attorneys for Defendant
     KIENG PHAT LIENG
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 Case No.: 2:06-CR-0356 FCD
11              Plaintiff,                     STIPULATION AND ORDER
                                               CONTINUING JUDGMENT
12        vs.                                  AND SENTENCING
13   KY CHAN HAU and KIENG PHAT
     LIENG,                                    Date: February 2, 2009
14             Defendants.                     Time: 10:00 A.M.
                                               Judge: Frank C. Damrell, Jr.
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17        IT IS HEREBY STIPULATED between the Defendant, Kieng Phat
18   Lieng, through his counsel Clyde M. Blackmon, Ky Chan Hau,
19   through his counsel Jerry Chong, and the United States of
20   America, through its counsel Assistant United States Attorney
21   Michael Beckwith, that the imposition of judgment and sentence
22   in this matter be continued from February 2, 2009, to March 2,
23   2009, at 10:00 a.m. before the Honorable Frank C. Damrell, Jr.
24        Although this matter has been continued for the imposition
25   of judgment and sentence a number of times previously, it is
26   nevertheless necessary to continue the matter again to develop
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                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
      Case 2:06-cr-00356-MCE Document 90 Filed 01/30/09 Page 2 of 3


 1   information pertaining to Mr. Lieng and Mr. Hau which will be
 2   relevant to the Court’s sentencing decisions as to each
 3   defendant.    Therefore, the parties request the Court to continue
 4   the imposition of judgment and sentence in this case from
 5   February 2, 2009, to March 2, 2009.
 6   IT IS SO STIPULATED.
 7
     DATED:       January 30, 2009
 8
 9
                                            By: //s// Clyde M. Blackmon____
10                                               Michael Beckwith
                                                 Assistant U.S. Attorney
11
12   DATED:       January 30, 2009
                                            By: _//s// Clyde M. Blackmon___
13                                                 Clyde M. Blackmon
                                                   Attorney for Defendant
14                                                 KIENG PHAT LIENG
15
     DATED:       January 30, 2009
16                                          By: _//s// Clyde M. Blackmon___
                                                   Jerry Chong
17                                                 Attorney for Defendant
18                                                 KY CHAN HAU

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                       STIPULATION AND ORDER CONTINUING JUDGMENT
                                      AND SENTENCING
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 1                          ORDER CONTINUING DATE
                   FOR IMPOSITION OF JUDGMENT AND SENTENCE
 2
 3        GOOD CAUSE APPEARING for the reasons set forth in the
 4   stipulation between counsel, the date for imposition of judgment
 5   and sentence in this matter is continued to March 2, 2009 at
 6   10:00 a.m.
 7   IT IS SO ORDERED.
 8
 9   DATED: January 30, 2009          _______________________________________
10                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
